                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE



 JOSE LUIS GALLARDO-REGALDO,

              Petitioner,

 v.                                                      3:06-cv-301
                                                         (3:03-cr-101)


 UNITED STATES OF AMERICA,

              Respondent.



                               MEMORANDUM OPINION



       This is a motion to vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255.

 The Clerk is DIRECTED to serve a copy of the motion and this Memorandum Opinion and

 accompanying Judgment Order on the United States Attorney. However, for the reasons

 stated below, the United States Attorney shall not be required to file an answer or other

 pleading to the motion, and the motion will be DENIED.

       Petitioner pleaded guilty to drug charges, money laundering, and unlawful re-entry.

 Pursuant to an amended judgment, which granted the government's motion for reduction of

 sentence based upon substantial assistance, petitioner's sentence was reduced from 360

 months to 250 month. Petitioner filed a motion for reconsideration and further reduction of




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 his sentence, which was denied. He then filed a notice of appeal as to the denial of his

 motion for reconsideration; the appeal remains pending. Less than a week after filing the

 notice of appeal, petitioner filed this § 2255 motion.

        Absent extraordinary circumstances, a district court is precluded from entertaining a

 § 2255 motion while a direct appeal from the same conviction is still pending. Capaldi v.

 Pontesso, 135 F.3d 1122, 1124 (6th Cir. 1998). This case presents no extraordinary

 circumstances compelling district court review at this time. Accordingly, the motion to

 vacate, set aside or correct sentence will be DENIED and this action DISMISSED.

        The court CERTIFIES that any appeal from this action would not be taken in good

 faith and would be totally frivolous. A certificate of appealability SHALL NOT ISSUE.

 28 U.S.C. § 2253. The court will DENY the petitioner leave to proceed in forma pauperis

 on appeal. See Rule 24 of the Federal Rules of Appellate Procedure.



        AN APPROPRIATE ORDER WILL ENTER.


                                                             s/ James H. Jarvis
                                                          United States District Judge




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